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                10
                                                  UNITED STATES DISTRICT COURT
                11
                                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                12
                        WAYMO LLC,                              CASE NO. 3:17-cv-00939-WHA
                13
                                     Plaintiff,                 DECLARATION OF WILLIAM
                14                                              GROSSMAN
                            vs.
                15                                              REDACTED VERSION OF DOCUMENT
                   UBER TECHNOLOGIES, INC.;                     SOUGHT TO BE SEALED
                16 OTTOMOTTO LLC; OTTO TRUCKING
                   LLC,                                         Hearing:
                17                                              Date: April 27, 2017
                             Defendants.                        Time: 8:00 a.m.
                18                                              Place: 8, 19th Floor
                                                                Judge: The Honorable William H. Alsup
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01980-00104/9065847.1                                                         DECLARATION OF WILLIAM GROSSMAN
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